         Case 2:11-cv-00340-TFM Document 42 Filed 01/30/13 Page 1 of 16




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 SHAWN MOHNEY, Administrator of the                       )
 ESTATE OF LEVI MOHNEY, Deceased,                         )
                  v                                       ) 11-340
                                                          )
 ROBERT HAGETER, individually; ALLEN                      )
 CARMICHAEL, individually; and LOUIS                      )
 DAVIS, individually; and JOHN DOE(S) 1                   )
 through 10, individually;                                )
                                                          )
                         Defendants.                      )



                          MEMORANDUM OPINION AND ORDER OF COURT

       Pending before the Court is DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT

(Document No. 32), filed on behalf of the three remaining Pennsylvania State police officer

Defendants, Trooper Robert Hageter (“Hageter”), Corporal Allen Carmichael (“Carmichael”)

and Corporal Louis Davis (“Davis”), with brief in support. Plaintiff Shawn Mohney

(“Plaintiff”), the father and duly appointed representative of the estate of Levi Mohney

(“Mohney”), has filed a Memorandum of Law in Opposition to the Motion (Document No. 36).

The parties have also thoroughly developed their respective positions regarding the Concise

Statement of Material Facts (“CSMF”) and have submitted numerous exhibits (Document Nos.

34, 35, 37, 38, 41). Accordingly, Defendants’ motion is now ripe for disposition.



Factual and Procedural Background

       This tragic case arises out of an encounter between Levi Mohney and police officers in

which Mohney erupted in fire and ultimately died. The incident occurred on March 18, 2009 at

approximately 7:45 p.m., at the trailer of Mohney’s ex-girlfriend, Patty Rae Ferris (“Ferris”). At


                                                1
            Case 2:11-cv-00340-TFM Document 42 Filed 01/30/13 Page 2 of 16




the time, Mohney was 24 years old, 6’0” tall, weighed 247 pounds, and had been a high school

wrestler.1

           In the weeks preceding March 18, 2009, Mohney had been involved in several incidents

of which the officers were aware, including: vandalizing his grandfather’s car with a crowbar;

pushing and frightening his father; and being prohibited from going to his grandmother’s house.

On March 12, 2009, Davis responded to a call from Mohney’s grandfather that Mohney was

threatening to shoot himself at a Motel 6. After securing a shotgun from Mohney, Davis

remained in the hotel room during a lengthy phone call between Mohney and a Clarion County

Mental Health professional. Ultimately, the Mental Health worker advised Davis that, in her

opinion, Mohney was not a threat to harm himself. Mohney also stated that he had no intention

of hurting himself. As a result of these incidents, Mohney had been a topic of discussion at the

state police “roll call.”

           Hageter knew Mohney from at least two prior interactions: (1) an incident in 2007 in

which Mohney was accused of punching someone at a party and Hageter cited him for

harassment; and (2) a subzero night on which Mohney was walking home from a bar and

Hageter gave him a ride to the Ferris trailer.

           Earlier in the day of March 18, 2009, there had been a series of incidents involving

Mohney and Ferris. Around 1:00 p.m., Ferris called the Pennsylvania State Police to report that

her trailer had been broken into; a 50-inch television had been taken; and she suspected that it

was Mohney who had burglarized the trailer. A “be on the lookout” (“BOLO”) notice was

issued. Hageter and his partner, Trooper Herold, spent the last hours of their scheduled shift

searching for Mohney without success.




1
    Carmichael and Davis, but not Hageter, knew that Mohney had been a wrestler.
                                                         2
         Case 2:11-cv-00340-TFM Document 42 Filed 01/30/13 Page 3 of 16




       At approximately 4:00 p.m. on March 18, Mohney was spotted at the Ferris trailer.

Hageter and Herold were ordered by Carmichael to continue their work day and proceed to the

trailer. Davis and Trooper Allen also responded to the scene. Ferris reported that Mohney had

pushed his way into the trailer; and when Ferris went outside to check on her son Mohney chased

her, shoved her down, and took her cell phone. Hageter Deposition at 36. In her witness

statement (Exhibit D-8), Ferris stated that she was on the phone with 911 when Mohney grabbed

the phone out of her hand. Hageter and Herold were directed to continue their search for

Mohney at various known locations. At approximately 6:30 p.m., Carmichael spotted Mohney’s

truck, but Mohney eluded him by driving through a wheat field. Mohney was aware that he was

the subject of a police search.

       At approximately 7:30 p.m. on March 18, a neighbor called 911 to report that Mohney

had returned to the Ferris trailer and climbed in through a window. Hageter and Herold drove

back to the trailer. Carmichael and Davis also drove to the trailer, observed Mohney’s truck, and

parked behind it to prevent an escape. The officers arrived on scene at approximately 7:40 p.m.

and took up positions around the trailer. There was no discussion of an operational plan for

taking Mohney into custody.

       Davis and Carmichael went on foot to the deck at the back of the trailer. Davis knocked

on the sliding glass door, loudly identified themselves as state police, and asked Mohney to come

outside. Mohney came to the door, opened the curtains, and shook his head and mouthed the

word “no.” He showed his empty palms to the officers. Mohney then stepped away from the

door and closed the curtains.

       Carmichael immediately smashed the glass door with his asp; Davis cleared the jagged

glass; and they entered the trailer. Hageter, who had been at the corner of the trailer, also entered

the trailer. Trooper Herold remained outside.

                                                  3
          Case 2:11-cv-00340-TFM Document 42 Filed 01/30/13 Page 4 of 16




         Upon entry, the officers saw Mohney standing in the corner of the living room. Mohney

made a fist with his right hand, which was raised to his chest and he assumed what Carmichael

described as a wrestling or fighting stance. Davis noticed a Bic lighter in Mohney’s right hand.2

Mohney was holding a Sierra Mist one-liter soda bottle in his left hand, which was down at his

side.

         As the officers entered the trailer, they were 10-15 feet from Mohney, and moved closer

toward him. The officers were arrayed in a slightly offset line, with Davis to the left and closest

to Mohney, Hageter in the middle and Carmichael in the right rear. The officers loudly

commanded Mohney to get on the ground. Upon seeing no apparent weapon in Mohney’s

hands, Hageter transitioned from his gun to a taser. Carmichael also held a taser and Davis held

a flashlight. Mohney did not comply with the officers’ repeated commands to get on the ground

or their warnings that he would be tasered. Davis thought Mohney was going to hit him.

Hageter suspected that Mohney’s non-compliance indicated an intention to fight. During the

encounter, Mohney made no movement other than to raise his right fist to his chest area.

         Hageter deployed his taser, with the intent to cause Mohney to fall to the ground so that

the officers could take him into custody. Hageter estimated that he fired the taser within five to

ten seconds after entering the trailer. Carmichael estimated that the efforts to get Mohney to

comply took 10-15 seconds. 3 The barbs struck Mohney in the left chest area. Almost

immediately, Hageter saw flames start in Mohney’s right midsection area, which spread down to

the floor and up to the ceiling. At the time, Davis was approximately 4-5 feet away from



2
  Carmichael and Hageter did not observe the lighter. Davis did not have a chance to communicate his observation.
3
  Plaintiff has submitted a “dash cam” videotape which depicts portions of the incident from the perspective of a
patrol car parked in the driveway and facing the front corner of the trailer. The videotape does not have sound and
does not show the rear of the trailer or any of the events which occurred inside. The time stamp on the video is off
by one hour. Approximately twelve (12) seconds elapse from the time a trooper, presumably Hageter, disappears
from the videotape to the rear of the trailer until an orange glow is reflected off the trees and Mohney then runs out
of the trailer.
                                                             4
         Case 2:11-cv-00340-TFM Document 42 Filed 01/30/13 Page 5 of 16




Mohney. Carmichael described the fire as “like an explosion and that the whole room just

seemed to be all of a sudden engulfed in flames.”

       Mohney ran outside the trailer and collapsed about fifty yards away. The officers gave

chase and attempted to extinguish the flames on Mohney with a blanket, and eventually

succeeded in doing so. Mohney then told Carmichael that he had gas in the Sierra Mist bottle

and intended to burn his furniture in the trailer. Troopers put out the fire inside the trailer with a

dry chemical fire extinguisher. Mohney was transported to the hospital, but died the next day of

thermal and inhalation injuries. He suffered third degree burns over 95% of his body.

       The State Police Fire Marshal, Trooper Agosti, arrived on the scene at 11:30 pm and

conducted an investigation into the origin and cause of the fire. Exhibit D-12. Among other

things, Agosti reported that he found an empty 1-liter Sierra Mist bottle lying on the floor of the

living room outside the burn pattern. Agosti observed the odor of gasoline “when I put my nose

near the opening of the bottle.” However, Agosti also stated: “There was no odor of gasoline

inside the room.” The carpet below the bottle was dry and did not emit a gasoline odor and there

was no fire damage on the bottle. Agosti also found a blue Bic lighter in the living room, which

was in working order and exhibited no fire damage. The bedroom was in disarray, as if Mohney

had been searching for items. Agosti noted a burn pattern on the carpet which measured

approximately 3 feet by 4 feet. In an interview at the scene, Davis informed Agosti that he had

not observed any strange odors or odors of flammable liquids. In a separate interview, Hageter

also told Agosti that he had not observed any such odors and explained that the taser had been

activated for only two seconds as opposed to the five-second pre-set activation time.

       The autopsy report, Exhibit D-11, reflected: “Laboratory tests confirm that the deceased

had covered himself with gasoline.” However, the actual laboratory tests have not been

submitted as part of the record and it is unclear whether Mohney placed the gasoline on his

                                                   5
            Case 2:11-cv-00340-TFM Document 42 Filed 01/30/13 Page 6 of 16




clothing, when, or how much gasoline was used.4 Agosti opined that the fire originated on

Mohney’s clothing and offered two theories: (1) that Mohney was covered in a flammable liquid

which was ignited by the taser; or (2) that Mohney was covered in a flammable liquid which he

ignited himself with the lighter. He stated that neither theory could be confirmed and that the

investigation would continue.

        The case management order required Plaintiff to submit all expert reports by August 15,

2012. Plaintiff submitted an expert report from Charles Drago regarding police procedures in

dealing with mentally ill citizens and the use of force. Plaintiff did not submit an expert report

regarding the origin or cause of the fire or whether the odor of gasoline could have been

detected.

        On May 27, 2011, Plaintiff filed a four-count Amended Complaint. On August 19, 2011,

the Court issued a Memorandum Opinion and Order which dismissed Supervisory Defendants

Neal, Wilson and Pawlowski, the Commonwealth of Pennsylvania, and the Pennsylvania State

Police as parties, but permitted Counts I, III and IV to proceed against officers Hageter,

Carmichael and Davis. Count I of the Amended Complaint sets forth claims pursuant to 42

U.S.C. § 1983, alleging that the officers caused Mohney to suffer fatal injuries in violation of his

Fourth and Fourteenth Amendment rights. Specifically, Plaintiff averred that as a result of the

Defendants’ conduct, Mohney was deprived of his right to protection against unreasonable and

excessive force, to be secure in his person, and to due process of law. Counts III and IV arise

under the Pennsylvania Survival Act, 42 Pa. C.S.A. § 8302, and the Pennsylvania Wrongful

Death Act, 42 Pa. C.S.A § 8301, respectively.




4
 The Death Investigation Report, Exhibit P-3, noted that all of Mohney’s clothing, except for remains of a hat, shoe
and sock, had been consumed by the fire.
                                                         6
         Case 2:11-cv-00340-TFM Document 42 Filed 01/30/13 Page 7 of 16




Standard of Review

        Summary judgment must be granted when “the movant shows that there is no genuine

dispute as to any material fact and the movant is entitled to judgment as a matter of law.” FED.

R. CIV. P. 56(a). The movant must identify those portions of the record which demonstrate the

absence of a genuine issue of material fact. See Celotex Corp. v. Catrett, 477 U.S. 317, 322

(1986). To withstand summary judgment, the non-movant must show a genuine dispute of

material fact by “citing to particular parts of materials in the record, including depositions,

documents, electronically stored information, affidavits or declarations, stipulations (including

those made for purposes of the motion only), admissions, interrogatory answers, or other

materials.” FED. R. CIV. P. 56(c)(1)(A); Matsushita Elec. Indus. Co. v. Zenith Radio Corp., 475

U.S. 574, 586–87 (1986). A dispute is “genuine” only if “there is sufficient evidence favoring

the nonmoving party for a jury to return a verdict for that party.” Anderson v. Liberty Lobby,

Inc., 477 U.S. 242, 249 (1986).




Legal Analysis

        Defendants seek summary judgment on the ground that their actions did not constitute

excessive force and/or that they are entitled to qualified immunity. Defendants also contend that

Plaintiff cannot prove causation (i.e., that the fire was ignited by the taser rather than the lighter

held by Mohney). Plaintiff contends that summary judgment is not warranted, in that Defendants

allegedly violated the “use of force” guidelines and the standards for dealing with mentally ill

citizens, as opined by the expert on police practices. Plaintiff further contends that even though

“all of the Defendants maintain that they did not detect the smell of any gasoline inside this small

trailer, it should be left to a jury to determine whether or not their denials are believable.”


                                                   7
         Case 2:11-cv-00340-TFM Document 42 Filed 01/30/13 Page 8 of 16




       A. May the Jury Decide Whether the Officers Detected the Odor of Gasoline?

       As a threshold matter, the Court must resolve whether the evidentiary record would allow

a jury to find that there was an odor of gasoline. This dispute is material because both sides

agree that use of a taser in the presence of gasoline presents a risk of deadly force.

              Paragraph 28 of Defendants’ CSMF states: “None of the Officers were
       aware, prior to the fire, that the bottle of Sierra Mist actually held gasoline.”

               Plaintiff’s Responsive CSMF ¶ 28 states: “It is admitted that all of the
       officers testified that they were not aware that the Sierra Mist bottle held gasoline.
       However, there is circumstantial evidence, including the size of the fire which
       broke out as well as the fact that the investigating fire marshal, Trooper Agosti,
       noticed the [odor] of gasoline coming from the empty Sierra Mist bottle after the
       fire occurred.”

              Paragraph 55 of Defendants’ CSMF states: “Neither of the Corporals or
       Trooper Hageter observed or smelled any gasoline or flammables or flammable
       vapors before the fire actually started.”

              Plaintiff’s Responsive CSMF ¶ 55 reflects: “Admitted. Denied as stated.
       The circumstantial evidence including the size of the fireball which is depicted on
       the dash cam video as well as the observations made by the fire marshal, Trooper
       Agosti, present circumstantial evidence which contradicts the testimony of the
       corporals and Trooper Hageter.”


       Each of the Defendants testified under oath in their depositions that they never detected

an odor of gasoline prior to the taser being used and they made similar statements in all of the

post-incident reports. Plaintiff averred in the Amended Complaint that there was enough

gasoline on the Decedent’s clothing and in a container that he was holding that the Trooper

Defendants should have been aware of its presence. (Amend. Compl. at ¶ 27). However,

Plaintiff has produced no actual evidence to support this averment. Nevertheless, Plaintiff asks

the Court to submit this question to a jury so that the jurors may conclude that Defendants are




                                                  8
         Case 2:11-cv-00340-TFM Document 42 Filed 01/30/13 Page 9 of 16




lying. In support of his position, Plaintiff points to the size of the fireball which is depicted on

the dash cam video and the investigation made by the fire marshal, Trooper Agosti.

       The investigation of Trooper Agosti actually supports the testimony of Defendants.

Agosti reported: “There was no odor of gasoline inside the room.” Agosti only observed the

odor of gasoline “when I put my nose near the opening of the [Sierra Mist] bottle.” Defendants

were several feet away from Mohney and the bottle. In sum, Agosti’s report would not justify a

reasonable jury to disbelieve Defendants’ testimony.

       The laboratory testing conducted on the clothing has not been made a part of the record.

The record does not reflect how much gasoline was on Mohney’s clothing. Moreover, Plaintiff

has not submitted any expert opinion regarding the size of the fire, the amount of gasoline

necessary to create such a fire, the time the gasoline may have been placed on Mohney’s

clothing, or whether an odor should have been detectable. See, e.g., United States v. Aman, 748

F. Supp.2d 531, 542-43 (E.D. Va. 2010) (discussing admissibility of expert testimony regarding

testing for gasoline on clothing recovered from scene of fire); In re Methyl Tertiary Butyl Ether

(MTBE) Products Liability Litigation, 643 F. Supp.2d 482, 485 (S.D.N.Y. 2009) (expert in

sensory evaluation methods permitted to testify concerning odor detection threshold of gasoline

additive).

       Thus, the only item of evidence that may add support to Plaintiff’s theory is the dash cam

video. The video does depict what appears to be the reflection from a sizable, quickly-ignited

fire. However, the video does not directly show the actual fire or any of the events inside the

trailer. Obviously, the video does not contain any evidence whatsoever regarding the odor of

gasoline. The jury would be required to engage in pure speculation to fill in the many gaps. See

Fedorczyk v. Caribbean Cruise Lines, Ltd., 82 F.3d 69, 75 (3d Cir. 1996) (refusing to submit

issue to jury for speculation) (citations omitted).

                                                   9
        Case 2:11-cv-00340-TFM Document 42 Filed 01/30/13 Page 10 of 16




       Numerous appellate decisions instruct that issues should not be submitted to the jury

without an adequate evidentiary foundation. In Island Software and Computer Service, Inc. v.

Microsoft Corp., 413 F.3d 257, 261-62 (2d Cir. 2005), the Court explained:

       Broad, conclusory attacks on the credibility of a witness will not, by themselves,
       present questions of material fact. See, e.g., Crawford-El v. Britton, 523 U.S. 574,
       600, 118 S.Ct. 1584, 140 L.Ed.2d 759 (1998) (noting that “if the [defendant] has
       made a properly supported [summary judgment] motion, the plaintiff may not
       respond simply with general attacks upon the defendant's credibility, but rather
       must identify affirmative evidence from which a jury could find that the plaintiff
       has carried his or her burden”) (footnote omitted); McCullough v. Wyandanch
       Union Free Sch. Dist., 187 F.3d 272, 280 (2d Cir. 1999) (emphasizing that
       “appellee cannot defeat summary judgment . . . merely by impugning [a witness's]
       honesty,” or “by promising in his appellate brief that at trial he will demonstrate
       how the [witness's testimony] is false”).

Accord Levesque v. Doocy, 560 F.3d 82, 87 (1st Cir. 2009) (“[A] mere challenge to the

credibility of a movant's witnesses without any supporting evidence does not raise a trialworthy

issue of fact.”) (citing Favorito v. Pannell, 27 F.3d 716, 721 (1st Cir. 1994)).

       In Anderson v. Liberty Lobby, Inc., 477 U.S. at 256-57, the United States Supreme Court

explained:

       As we have recently said, “discredited testimony is not [normally] considered a
       sufficient basis for drawing a contrary conclusion.” Bose Corp. v. Consumers
       Union of United States, Inc., 466 U.S. 485, 512, 104 S.Ct. 1949, 1966, 80 L.Ed.2d
       502 (1984). Instead, the plaintiff must present affirmative evidence in order to
       defeat a properly supported motion for summary judgment. This is true even
       where the evidence is likely to be within the possession of the defendant, as long
       as the plaintiff has had a full opportunity to conduct discovery.

       The opinion of the Court of Appeals for the Third Circuit in Lamont v. New Jersey, 637

F.3d 177 (3d Cir. 2011), is consistent with these decisions. To be sure, the Court cautioned:

       Because “the victim of deadly force is unable to testify,” Abraham v. Raso, 183
       F.3d 279, 294 (3d Cir. 1999), we have recognized that a court ruling on summary
       judgment in a deadly-force case “should be cautious . . . to ‘ensure that the
       officer[s are] not taking advantage of the fact that the witness most likely to
       contradict [their] story—the person shot dead—is unable to testify,’” id. (quoting
       Scott v. Henrich, 39 F.3d 912, 915 (9th Cir. 1994)). Thus, a court should avoid
       simply accepting “ ‘what may be a selfserving account by the officer[s]. It must

                                                 10
          Case 2:11-cv-00340-TFM Document 42 Filed 01/30/13 Page 11 of 16




         also look at the circumstantial evidence that, if believed, would tend to discredit
         the police officer[s'] story, and consider whether this evidence could convince a
         rational fact finder that the officer[s] acted unreasonably.’” Id. (quoting Scott, 39
         F.3d at 915).

Id. at 181-82. However, the Lamont Court then immediately explained:

         This is not to say that the summary judgment standard should be applied with
         extra rigor in deadly-force cases. Rule 56 contains no separate provision
         governing summary judgment in such cases. Cf. Wallace v. SMC Pneumatics,
         Inc., 103 F.3d 1394, 1396 (7th Cir. 1997). Just as in a run-of-the-mill civil action,
         the party opposing summary judgment in a deadly-force case must point to
         evidence—whether direct or circumstantial—that creates a genuine issue of
         material fact, “and may not rely simply on the assertion that a reasonable jury
         could discredit the opponent[s’] account.”

Id. at 182 (citations omitted.)

         In accordance with the foregoing, the Court concludes that the uncontroverted evidence

of record establishes that the officers did not detect an odor of gasoline in the trailer prior to the

10-15 second confrontation which resulted in use of the taser. Plaintiff has not submitted

evidence by which a reasonable jury could disbelieve the officers, but instead, has presented a

conclusory attack on their credibility and veracity.5 The Court now turns to the evaluation of the

excessive force claim, based on this determination.



         B. Could a Reasonable Jury Conclude That the Officers Used Unreasonable Force?

         The general legal principles regarding claims of excessive force were succinctly

summarized in Estate of Awkward v. Willingboro Police Dept., 2010 WL 3906785 *5-6 (D.N.J.

2010) (granting summary judgment to officers in case involving mentally ill person who died by

positional asphyxia while being taken into custody):

5
 In its independent research, the Court uncovered a somewhat factually similar case that was not cited by the parties,
Brown v. Burghart, 2012 WL 1900603 (E.D. Pa. May 25, 2012) (suspect caught on fire after being tasered by
officers), in which the Court denied summary judgment. However, Brown is distinguishable because the taser was
used near a scooter which had crashed and was leaking gasoline. The Court concluded that a reasonable jury could
find that the officers should have been cognizant of the risk of fire. Such a supposition is not reasonable under the
facts and circumstances of this case.
                                                           11
        Case 2:11-cv-00340-TFM Document 42 Filed 01/30/13 Page 12 of 16




       In determining whether excessive force was used, the Fourth Amendment's
       “objective reasonableness” test is applied. Sharrar v. Felsing, 128 F.3d 810, 820–
       21 (3d Cir. 1997) (citing Graham v. Connor, 490 U.S. 386, 396, 109 S.Ct. 1865,
       104 L.Ed.2d 443 (1989)). The objective reasonableness test “requires careful
       attention to the facts and circumstances of each particular case, including the
       severity of the crime at issue, whether the suspect poses an immediate threat to
       the safety of the officers or others, and whether he is actively resisting arrest or
       attempting to evade arrest by flight.” Id. (relying on Graham, 490 U.S. at 396;
       Groman v. Township of Manalapan, 47 F.3d 628, 634 (3d Cir. 1995)). “Other
       relevant factors include the possibility that the persons subject to the police action
       are themselves violent or dangerous, the duration of the action, whether the action
       takes place in the context of effecting an arrest, the possibility that the suspect
       may be armed, and the number of persons with whom the police officers must
       contend at one time.” Id.

       In evaluating the proper test for objective reasonableness, the Supreme Court has
       provided that “not every push or shove, even if it may later seem unnecessary in
       the peace of a judge's chambers, ... violates the Fourth Amendment.” Graham,
       490 U.S. at 396 (citation omitted). Rather, “[t]he calculus of reasonableness must
       embody allowance for the fact that police officers are often forced to make split-
       second judgments—in circumstances that are tense, uncertain, and rapidly
       evolving—about the amount of force that is necessary in a particular situation.”
       Id.

       In this case, Plaintiff contends that Mohney was merely non-compliant with officer

commands and had done nothing to indicate any imminent threat to the officers or others.

Accordingly, Plaintiff reasons that pursuant to the Pennsylvania State Police “use of force”

continuum, the officers should have used OC spray/pressure point control, strikes or kicks, or an

impact weapon such as a baton, to gain compliance by Mohney. Plaintiff contends that use of a

taser was not warranted because officers are instructed to use a taser to “incapacitate/restrain”

rather than to obtain “compliance.”

       As an initial matter, Plaintiff’s reliance on state police policy guidelines is misplaced.

The source of Mohney’s rights is the Fourth Amendment to the United States Constitution, rather

than the Pennsylvania State Police procedures manual. Because the Fourth Amendment protects

citizens from unreasonable seizures, the ultimate issue is whether the officers acted reasonably,



                                                 12
        Case 2:11-cv-00340-TFM Document 42 Filed 01/30/13 Page 13 of 16




not whether they followed department guidelines. As explained in Ickes v. Borough v. Bedford,

807 F. Supp.2d 306, 320-21 (W.D. Pa. 2011):

       This alleged breach of protocol, however, has no bearing on the constitutional
       analysis in this case. Although the particular practices of law enforcement entities
       may “vary from place to place and from time to time,” the objective
       reasonableness of a police officer's actions under the Fourth Amendment does not
       “turn upon such trivialities.” Whren v. United States, 517 U.S. 806, 815 (1996).

In Ickes, an officer used a taser against a 72-year-old handicapped man who was accused of

using a tape recorder at the Bedford County Courthouse. Nevertheless, the Court held that the

officer was entitled to qualified immunity. The Court characterized the use of a taser as “an

intermediate or medium, though not insignificant, quantum of force that causes temporary pain

and immobilization.” Id. at 321 (citing Sanders v. City of Fresno, 551 F. Supp.2d 1149, 1168

(E.D. Cal. 2008). The Court further explained that Ickes was actively resisting arrest despite

having been warned that a taser would be used.

       With that background, the Court will now consider the totality of the circumstances in

this case as set forth in the evidentiary record construed in the light most favorable to Plaintiff.

The officers were attempting to arrest Mohney for several crimes, including burglary, assault,

and flight from a police officer. At the time, Mohney was unlawfully in the Ferris trailer.

Mohney was a 247 pound, 24-year-old male who was apparently unarmed, but had assumed a

fighting or wrestling stance. Although the officers could see that Mohney’s hands were empty of

weapons, Corporal Davis knew that there was a possibility that Mohney had a gun in the vicinity,

given his recovery of a shotgun from Mohney at the Motel 6 several days earlier. The officers

knew that Mohney had been involved in several violent incidents involving his family members

in the prior weeks, in addition to the events that day. In sum, the officers knew that Mohney had

the potential to be violent and dangerous. At the time the taser was activated, Mohney was

standing still and he could not easily escape from the trailer. On the other hand, Mohney had

                                                  13
          Case 2:11-cv-00340-TFM Document 42 Filed 01/30/13 Page 14 of 16




refused to come out of the trailer (by mouthing “no” and retreating from the door); had refused to

obey the officers’ repeated commands to get on the floor; had assumed a fighting stance; and

earlier that afternoon he had evaded arrest by driving through a wheat field. Mohney was

warned repeatedly that a taser would be used if he did not submit. The duration of the specific

confrontation in the trailer was a matter of seconds. However, officers had been attempting to

apprehend Mohney for the majority of the day. The use of the taser took place in the context of

effectuating an arrest. Mohney was the only person with whom the police officers had to

contend at the time.6

         The result of the encounter on the evening of March 18, 2009 was certainly tragic.

Nevertheless, even assuming arguendo that the taser ignited the fire, the Court concludes that the

officers acted reasonably. In McKenney v. Harrison, 635 F.3d 354, 360 (8th Cir. 2011)

(involving suspect’s death from fall out of second-story window after being tasered), the Court

of Appeals explained that the tragic, unforeseeable consequences of an officer’s use of a taser do

not render an otherwise reasonable seizure unconstitutional. As explained above, the officers

had no indication that Mohney had placed gasoline on his clothes and they could not have

reasonably anticipated that use of the taser would result in Mohney’s death.

         Under the tense, uncertain, and rapidly-evolving circumstances that evening, the officers

made an objectively reasonable split-second judgment that use of a taser was necessary. Their

decision must be judged by their perspective at the time, not second-guessed with the benefit of

20/20 hindsight. Graham v. Connor, 490 U.S. at 36-97.




6
  The expert report of Charles Drago places great emphasis on the officers’ alleged failure to recognize and deal with
Mohney’s alleged mental illness, which he contends the officers should have been aware of due to the alleged
threatened suicide incident at the Motel 6. However, the evidentiary record reflects that after a lengthy telephone
call with Mohney, a Clarion County Mental Health professional advised Davis that Mohney was not a threat to harm
himself. While in the motel room, Mohney also told Davis that he had no intention of hurting himself.
                                                         14
        Case 2:11-cv-00340-TFM Document 42 Filed 01/30/13 Page 15 of 16




Conclusion

       In accordance with the foregoing, DEFENDANTS’ MOTION FOR SUMMARY

JUDGMENT (Document No. 32) will be GRANTED.            Judgment will be entered in favor of

Defendants and the case will be docketed closed.

       An appropriate Order follows.



                                                   McVerry, J.




                                              15
        Case 2:11-cv-00340-TFM Document 42 Filed 01/30/13 Page 16 of 16




                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 SHAWN MOHNEY, Administrator of the                   )
 ESTATE OF LEVI MOHNEY, Deceased,                     )
                  v                                   )
                                                      )    2:11-cv-340
 ROBERT HAGETER, individually; ALLEN                  )
 CARMICHAEL, individually; and LOUIS                  )
 DAVIS, individually; and JOHN DOE(S) 1               )
 through 10, individually;                            )
                                                      )
                          Defendants.                 )

                                           ORDER OF COURT

       AND NOW, this 30th day of January, 2013, in accordance with the foregoing

Memorandum Opinion, it is hereby ORDERED, ADJUDGED and DECREED that

DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT (Document No. 32) is GRANTED.

The clerk shall docket this case closed.

                                                          BY THE COURT:

                                                          s/Terrence F. McVerry
                                                          United States District Judge


cc:    Patrick G. Geckle, Esquire
       Email: pgeckle@pgglaw.com

       Thomas L Donahoe, Esquire
       Email: tdonahoe@attorneygeneral.gov




                                             16
